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ATOOI ALOHA, LLC

CRAIG B. STANLEY, as Trustee for

THE EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST;

CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually
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PagelD #: 873

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada
Limited Liability Company; CRAIG B.
STANLEY, as Trustee for THE
EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST;
CRAIG B. STANLEY, individually;
MILLICENT ANDRADE, individually,

Plaintiffs,
V. |

ABNER GAURINO; AURORA
GAURINO; ABIGAIL GAURINO;
INVESTORS FUNDING
CORPORATION, as Trustee for an
unrecorded Loan Participation
Agreement dated June 30, 2014; APT-
320, LLC, a Hawaii Limited Liability
Company; CRISTETA C. OWAN, an
individual; ROMMEL GUZMAN;
FIDELITY NATIONAL TITLE &
ESCROW OF HAWAII and DOES 1-
100 Inclusive.,

Defendants.

 

 

CIVIL NO. 16-00347 JMS RLP
CERTIFICATE OF SERVICE

RE: PLAINTIFFS ATOOI
ALOHA, LLC, CRAIG B.
STANLEY AS TRUSTEE FOR
THE EDMON KELLER AND
CLEAVETTE MAE STANLEY
FAMILY TRUST, CRAIG B.
STANLEY, AND MILLICENT
ANDRADE’S SECOND
REQUEST FOR PRODUCTION
OF DOCUMENTS TO
DEFENDANT ABNER GAURINO

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this date, an original and one copy

of PLAINTIFFS ATOOI ALOHA, LLC, CRAIG B. STANLEY AS

TRUSTEE FOR THE EDMON KELLER AND CLEAVETTE MAE
Case 1:16-cv-00347-JMS-RLP Document 131 Filed 09/08/17 Page3o0f5 PagelD #: 874

STANLEY FAMILY TRUST, CRAIG B. STANLEY, AND MILLICENT
ANDRADE’S SECOND REQUEST FOR PRODUCTION OF DOCUMENTS
TO DEFENDANT ABNER GAURINO were duly served upon the following
parties as indicated below:

Via: U.S. Mail

JOHN R. REMIS, JR., ESQ.

P.O. Box 38112
Honolulu, HI 96837

and

Via: Hand Delivery

ROBERT D. EHELER, JR., ESQ.
Pauahi Tower at Bishop Square
1003 Bishop Street, Suite 2700
Honolulu, HI 96813

Attorneys for Defendants
ABNER GAURINO, AURORA
GAURINO and ABIGAIL
GAURINO

Further, a copy of PLAINTIFFS ATOOI ALOHA, LLC, CRAIG B.
STANLEY AS TRUSTEE FOR THE EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST, CRAIG B. STANLEY, AND
MILLICENT ANDRADE’S SECOND REQUEST FOR PRODUCTION OF
DOCUMENTS TO DEFENDANT ABNER GAURINO was duly served upon

the following parties as indicated below:
Case 1:16-cv-00347-JMS-RLP Document 131 Filed 09/08/17 Page4of5 PagelD#: 875

Via: Hand Delivery
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and

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FIDELITY NATIONAL TITLE &
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Case 1:16-cv-00347-JMS-RLP Document 131 Filed 09/08/17 Page5of5 PagelD #: 876

DATED: Honolulu, Hawai’i, September 8, 2017.

CADES SCHUTTE
A Limited Liability Law Partnership

/s/ Dennis W. Chong Kee
DENNIS W. CHONG KEE
W. KEONI SHULTZ
CHRISTOPHER T. GOODIN

 

and

LAWRENCE C. ECOFF, Pro Hac Vice
ALBERTO J. CAMPAIN, Pro Hac Vice
GINNI G. KIM, Pro Hac Vice

Attorneys for Plaintiffs

ATOOI ALOHA, LLC, CRAIG B.
STANLEY, as Trustee for THE EDMON
KELLER AND CLEAVETTE MAE
STANLEY FAMILY TRUST; CRAIG B.
STANLEY, Individually; and MILLICENT
ANDRADE, Individually
